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  6   Former Attorneys for Plaintiff
      JAMIL GEORGE RABADI
  7
  8
  9                        UNITED STATES DISTRICT COURT
10                       CENTRAL DISTRICT OF CALIFORNIA
11
12    JAMIL GEORGE RABADI, an             Case No.: 2:20-cv-09465-JAK-JPR
      Individual;
13                                        [Removal from Superior Court of California
                         Plaintiff,       County of Los Angeles, Case No.
14                                        20STCV32784]
              v.
15
      SHELLPOINT MORTGAGE                 RESPONSE TO THE COURT’S
16    SERVICING, LLC; a limited           JANUARY 20, 2021 ORDER
      liability company; and DOES 1       GRANTING PLAINTIFF’S
17    through 100, inclusive,             COUNSEL’S MOTION TO
                                          WITHDRAW; DECLARATION OF
18                        Defendants.     JARROD Y. NAKANO IN SUPPORT
                                          THEREOF.
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                                           -1-
                                                    DECLARATION OF JARROD Y. NAKANO
                                                                  2:20-cv-09465-JAK-JPR
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  1                      DECLARATION OF JARROD Y. NAKANO
  2   I, Jarrod Y. Nakano, state and declare as follows:
  3   1.    I am a partner with McFarlin LLP, former counsel of record for Plaintiff
  4   JAMIL GEORGE RABADI (“Plaintiff”). I have personal knowledge of the facts
  5   set forth herein. If called as a witness, I could competently testify hereto.
  6   2.    I offer this declaration in response to the Court’s Order Granting the Motion
  7   to Withdraw as Counsel of Record.
  8   3.    Pursuant to the Court’s Order on January 20, 2021 [Docket No. 13], McFarlin
  9   LLP was to file a Proof of Service of the Order Granting the Motion to Withdraw as
10    Counsel of Record.
11    4.    My office has attempted to serve Plaintiff with the Motion and Order;
12    however, successful service has not yet been completed as the process server cannot
13    access Plaintiff’s property. A true and correct copy of the Non-Service Report is
14    attached as Exhibit A.
15    5.    My office has made a good faith effort to serve Plaintiff, but we have not yet
16    been able to do so.
17    6.    As such, my office would like to request additional time to properly serve the
18    Order Granting the Motion to Withdraw as Counsel of Record.
19          I declare under penalty of perjury under the laws of the State of California
20    that the foregoing is true and correct.
21
22          Executed on January 27, 2021, in Irvine, California.
23
24
                                                      /s/ Jarrod Y. Nakano
25                                                    ___________________________
26                                                    Jarrod Y. Nakano

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                                                -2-
                                                           DECLARATION OF JARROD Y. NAKANO
                                                                        2:20-CV-09465-JAK-JPR
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                Exhibit A
1/27/2021 Case   2:20-cv-09465-JAK-JPR      Document
                                  McFarlin Law              16 Filed
                                               Mail - Fwd: Regarding:    01/27/21
                                                                      JAMIL          PageAN4INDIVIDUAL
                                                                            GEORGE RABADI,   of 4 Page ID #:239




          Regarding: JAMIL GEORGE RABADI, AN INDIVIDUAL




                                            DILIGENCE REPORT - SERVICE UPDATE
    Workorder:: 164357
    Reference
    Number:
    Case
                2:20-cv-09465-JAK-JPR
    Number:
                JAMIL GEORGE RABADI, AN INDIVIDUAL vs SHELLPOINT MORTGAGE SERVICING, LLC, A LIMITED
    Case Title:
                LIABILITY COMPANY
    Job Type:   Process - Standard
    Ordered By: SAMANTHA GERAGHTY - (949) 544-2640
    Ordered
                1/13/2021
    On:
    Servee:     JAMIL GEORGE RABADI, AN INDIVIDUAL
                NOTICE OF MOTION AND MOTION TO WITHDRAW AS COUNSEL FOR PLAINTIFF; DECLARATION OF
    Documents:
                JARROD Y. NAKANO; AND [PROPOSED] ORDER GRANTING MOTION TO WITHDRAW;
                Date: 1/19/2021
                Time: 5:25 PM
                Address Attempted: 31761 Paseo Bonito, , Castaic, CA 913843976
                THERE WAS NO ANSWER AT THE DOOR. ALL THE LIGHTS AT THE PROPERTY ARE OFF INSIDE. I
                WAITED FOR ABOUT 10 MINUTES BUT THERE WAS NO ACTIVITY SEEN OR HEARD.




                     Thank you for your Business.




https://mail.google.com/mail/u/0?ik=99d27a92d7&view=pt&search=all&permmsgid=msg-f%3A1690091953761608615&simpl=msg-f%3A16900919537…
